           Case: 3:20-cv-00092-jdp Document #: 60 Filed: 12/17/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
                                  MADISON DIVISION

    OREGON POTATO COMPANY d/b/a                   )
    RADER FARMS,                                  )
                                                  )
                          Plaintiff,              )
                                                  )
    vs.                                           )                No. 3:20-cv-00092
                                                  )
    KERRY INC.,                                   )
                                                  )
                          Defendant.              )

              DEFENDANT KERRY INC.’S MEMORANDUM IN OPPOSITION
                 TO PLAINTIFF’S MOTION FOR EXTENSION OF TIME

          Defendant Kerry Inc. (“Kerry”) respectfully requests that the Court either deny Plaintiff

Oregon Potato Company’s (“OPC’s”) motion for an extension (Dkt. 59) of 15 days, from

December 21, 2020 to January 5, 2021, to file its reply in support of its Motion for Leave to File

Its First Amended Complaint or grant a shorter extension.        While Kerry would not normally

oppose this type of request, there are unusual and extenuating circumstances here. As explained

in Kerry’s Memorandum in Opposition to OPC’s Motion for Leave (Dkt. 55),1 OPC unduly

delayed for months before filing its motion for leave and seeking to amend its complaint. (Id. at

4–7.) OPC itself chose to file its motion for leave in the midst of the holidays—after 9:00 p.m. the

night before the Thanksgiving holiday. OPC knew at that time that there would be briefing on its

motion, and OPC knew then about all of the circumstances that it now cites as reasons for an

extension.

          OPC also knew that its First Amended Complaint, if allowed even in part, would

dramatically increase the scope of the case and require the parties to restart and redo their ongoing


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    OPC incorrectly states that this memorandum is 37 pages long. In fact, it is only 27 pages long.
        Case: 3:20-cv-00092-jdp Document #: 60 Filed: 12/17/20 Page 2 of 3




efforts to collect, review, and produce a massive amount of electronically stored information—a

process which has already been costly and time-consuming. (Id. at 3.) If amendment were

allowed, Kerry also would need to issue extensive additional written discovery requests to OPC

regarding the new allegations. At the same time, OPC is insistent that the parties quickly move

forward with discovery over the holidays. In summary, because discovery is continuing unabated,

Kerry respectfully submits that it is in the interests of both parties, as well as the Court’s

administration of this case, that the scope of OPC’s claims, and hence discovery, be determined as

soon as possible. For all of these reasons, the request for extension either should be denied or the

Court should grant a shorter extension of time than the extension OPC has requested.



                                             Respectfully submitted,

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 Date: December 17, 2020                     Attorneys for Defendant Kerry Inc.




                                                 2
         Case: 3:20-cv-00092-jdp Document #: 60 Filed: 12/17/20 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2020 a copy of the foregoing was filed electronically,

and that notice of this filing will be sent to registered parties by operation of the Court’s electronic

filing system.


                                                        /s/ Peter J. Kocoras
                                                        Peter J. Kocoras




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